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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

                                                               )
In re:                                                         )   Chapter 11
                                                               )
AEARO TECHNOLOGIES LLC, et al., 1                              )   Case No. 22-02890-JJG-11
                                                               )
                                     Debtors.                  )   Jointly Administered
                                                               )
                                                               )
3M OCCUPATIONAL SAFETY LLC, et al.,                            )   Adv. Proc. No. 22-50059
                                                               )
                                     Plaintiffs,               )
                                                               )
                   vs.                                         )
                                                               )
THOSE PARTIES LISTED ON                                        )
APPENDIX A TO THE COMPLAINT, et al.,                           )
                                                               )
                                     Defendants.
                                                               )

           OBJECTION OF AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC
          TO DEBTORS’ REQUEST FOR A TEMPORARY RESTRAINING ORDER

          Aylstock, Witkin, Kreis & Overholtz, PLLC (“AWKO”), on behalf approximately 45,000

tort claimants, objects to the portion of the Debtor’s Motion for Declaratory and Injunctive

Relief (I) Confirming that the Automatic Stay Applies to Certain Actions Against a Non-Debtor;

(II) Preliminarily Enjoining Certain Actions Against a Non-Debtor; and (III) Granting a

Temporary Restraining Order Pending an Order on the Preliminary Injunction [Adv. Docket

No. 2] (the “Injunction Motion”) that seeks a temporary restraining order (“TRO”). 2



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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are set forth in the Debtors’ First Day Motion for Entry of an Order (I) Directing Joint Administration of
    Chapter 11 Cases and (II) Granting Related Relief [Bankr. Docket No. 7]. The location of the Debtors’ service
    address for the purposes of these chapter 11 cases is 7911 Zionsville Road, Indianapolis, Indiana 46268.
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    Consistent with the Order on Debtors’ Ex Parte Motion to Shorten Notice and Set an Expedited Hearing on the
    Debtors’ Request for a Temporary Restraining Order [Adv. Docket No. 9], the balance of the relief requested in
    the Injunction Motion will be heard at a future date and subject to a separate objection deadline.


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                                        INTRODUCTION

       1.      This case sits at the intersection of two alarming trends in bankruptcy. First, it is

merely the latest example of a wealthy, solvent non-debtor – here, 3M Company (“3M”) –

seeking to avail itself of all the benefits of bankruptcy without subjecting itself to any of the

burdens of bankruptcy. Second, it is perhaps the most abusive example to date of a defendant

taking full advantage of the case management tools afforded by the Judicial Code and Federal

Rules of Civil Procedure but then deciding that the orderly, well-managed litigation process it

secured is not delivering the verdicts it hoped for – and thus scurrying into bankruptcy court.

       2.      This is not a proper foundation for extraordinary equitable relief – and certainly

not for emergency relief, on essentially no notice. The issues implicated by the TRO request go

to the heart of the bankruptcy process, including which entities are entitled to this Court’s

protection and whether a litigant’s dissatisfaction with the verdicts being returned in an existing

forum is a sufficient basis to shift ongoing proceedings to the bankruptcy forum. These issues

should only be resolved on a full record, after appropriate discovery, briefing, and argument.

There is no basis to short-circuit that process merely because 3M would like a quick decision

rendered on an emergency basis that will stack the deck in its favor before injured veterans and

servicemembers have any opportunity to take discovery or be meaningfully heard.

       3.      If 3M truly needed the benefit of the automatic stay, it could have filed for

bankruptcy itself. Doing so would have immediately halted all litigation without any need for a

TRO. But 3M instead is trying to game the system by saddling a subsidiary with indemnification

obligations, bankrupting that subsidiary, and then arguing that the indemnification obligations

entitle 3M to extraordinary injunctive relief. The Court should not reward this gambit by

granting emergency relief, but instead should set the matter for full and proper consideration,

with appropriate discovery, briefing, and argument.


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                                         BACKGROUND

       4.      In late 2018, the U.S. government settled a qui tam lawsuit against 3M Company

(“3M”) and its subsidiary, 3M Innovative Properties, for those companies’ fraud in knowingly

selling a defective and dangerous earplug – the Combat Arms Earplugs v2 (“CAEv2”) – to the

military for more than 15 years. The debtors in these jointly administered bankruptcy cases (the

“Debtors” and collectively, “Aearo”) were not parties to that lawsuit because, after 3M acquired

Aearo in 2008, 3M assumed all of Aearo’s liabilities and apparently rendered Aearo little more

than a shell that does not even pay its own employees’ wages. Cf. Wages Mot. [Bankr. Docket

No. 20] ¶ 12 (“Historically, non-Debtor 3M has paid for the majority of obligations arising under

the Employees’ Compensation and Benefits directly to the Debtors’ Employees.”).

       5.      When thousands of affected veterans thereafter filed lawsuits for injuries suffered

from using the CAEv2 in training, on base, and in combat in Afghanistan and Iraq, 3M never

once argued that it was anything other than directly and independently liable for those injuries.

Nor did 3M attempt to shift the blame to Aearo. Instead, 3M and the plaintiffs engaged in years

of discovery and tried 16 bellwether cases for 19 plaintiffs to jury verdict – resulting in over

$300 million in damages for injured veterans – without a single suggestion that Aearo, rather

than 3M, held the liabilities for CAEv2-related injuries.

       6.      But now Aearo is back as an allegedly separate entity – for use as a vehicle to

ferry 3M’s liabilities into chapter 11 without 3M itself filing for relief. Just one day before these

bankruptcy petitions were filed, 3M and Aearo entered into a “Funding and Indemnification

Agreement” by which Aearo agreed to indemnify 3M for all of its CAEv2-related liabilities.

And that newly-confected indemnification obligation is now the basis for the request that this

Court grant extraordinary equitable relief to non-debtor 3M. See, e.g., Injunction Mot. at 5 (“The

Debtors have agreed to indemnify 3M and its non-debtor affiliates for the Pending Actions.


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Accordingly, the Debtors’ estates are placed directly at risk by the immense and accelerating cost

of litigating the Pending Actions, as well as any resulting adverse judgments against 3M or its

non-debtor affiliates.”).

          7.       The impetus for resurrecting Aearo as a putatively independent entity is 3M’s

dissatisfaction with the verdicts that juries render when they hear the evidence against 3M. The

story set out in the Injunction Motion and accompanying “Informational Brief” 3 is that the

coordinated MDL process that 3M has been participating in for years was actually “doomed …

from the outset” (Informational Brief Point III) and is hopelessly “broken beyond repair” (id.

Point IV). The Informational Brief describes the MDL as an utter “failure,” id. at 1, that has

“spiraled out of control,” id. at 4, and accuses the judge presiding over the MDL of having

“abandoned” proper vetting, id. at 7, and “gutted defenses and barred key evidence,” id. at 43,

among numerous other alleged failings.

          8.       Rather than pursuing appellate relief for these perceived injustices, 3M has

decided it would prefer to opt out of the civil justice system entirely: “At this point, the … tort

claims morass simply cannot be sorted out in the MDL or in the traditional tort system.” Id. at

52. And it seeks this Court’s aid in this endeavor. Had 3M itself filed for bankruptcy, no TRO

would be necessary: the automatic stay of Bankruptcy Code section 362(a) would automatically

apply. But 3M elected not to subject itself to this Court’s jurisdiction, and instead is attempting

to use a subsidiary’s bankruptcy (and a suspicious, eve-of-bankruptcy contract) to rid itself of its

own independent liability to hundreds of thousands of veterans and servicemembers.




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    Informational Brief of Aearo Technologies LLC [Bankr. Docket No. 12]. AWKO will not here attempt to catalog
    all the inaccuracies in this 62-page advocacy piece, but to the extent the Court would benefit from a balanced and
    neutral view of the underlying facts, the United States District Judge who has been presiding over coordinated
    multidistrict litigation (“MDL”) proceedings for years has written numerous opinions that may be of assistance,
    including In re 3M Combat Arms Earplug Products Liability Litigation, 474 F. Supp. 3d 1231 (N.D. Fla. 2020).


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                                          ARGUMENT

       9.      Preliminary injunctive relief – especially in the form of a temporary restraining

order entered on essentially no notice – is “an extraordinary and drastic remedy” that is “never

awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008). The party seeking such

relief must make a “clear showing” of entitlement, Winter v. Nat’l Res. Def. Council, Inc., 555

U.S. 7, 22 (2008), which is governed by four elements:

               A [party] seeking a preliminary injunction must establish (1) that he is
               likely to succeed on the merits, (2) that he is likely to suffer irreparable
               harm in the absence of preliminary relief, (3) that the balance of equities
               tips in his favor, and (4) that an injunction is in the public interest.

Id. at 20. In undertaking this analysis, “irreparable harm is a threshold requirement for granting

injunctive relief,” and thus is generally analyzed first. DM Trans, LLC v. Scott, 38 F.4th 608,

618 (7th 2022).

       10.     At this stage of this just-filed bankruptcy case, the most glaring defect in the

Debtors’ request for a TRO is the absence of any irreparable harm if relief is not granted. There

is nothing imminent or potentially cataclysmic on the immediate horizon. Indeed, of the two

declarations tendered in support of the Injunction Motion, one indicates that this bankruptcy

filing has been in the works for “months,” Stein Decl. [Adv. Docket No. 3] at ¶ 10, and the other

includes a chart of upcoming litigation deadlines on which the earliest entry (“Responses to

written discovery requests due”) is August 9, 2022, see Horowitz Decl. [Adv. Docket No. 4] at

¶ 28. No actual trials are scheduled to commence. At most, the parties will continue with

ongoing depositions and discovery, which – in the context of an MDL that has been ongoing

since 2019 – cannot remotely constitute “irreparable harm.”

       11.     The absence of any imminent irreparable harm is reason enough to deny the TRO

and set the remainder of the relief requested in the Injunction Motion for full and appropriate



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consideration in connection with discovery and a briefing schedule. Among other things, the

parties against whom emergency injunctive relief is being sought should have a full and fair

opportunity for discovery regarding the Debtors’ apparent claim that they alone are now

responsible for 3M’s CAEv2-related liability. This is an about-face from the litigation posture in

the MDL, where 3M litigated for years without ever asserting that its liability is somehow siloed

in a particular subsidiary. See Informational Br. at 54 (recounting that “throughout the MDL

proceedings and trials, Aearo and 3M were together referred to as ‘Defendants,’ including on

jury verdict forms assessing liability and damages” – all without objection by Defendants).

       12.     Indeed, even the Debtors’ filings in this Court are opaque regarding the precise

relationship between 3M, Aearo, and the CAEv2, with statements such as:

               In 2008, 3M acquired Aearo, and in 2010, Aearo’s earplug sales business
               was transferred upstream to 3M. The companies continued producing and
               selling the Combat Arms until 2015.

Id. 53. The first of these two sentences appears to draw a distinction between 3M’s acquisition

of the stock of Aearo in 2008 versus some type of internal corporate transaction or perhaps

accounting maneuver (“upstreaming”) in 2010. But the second of the two sentences appears to

indicate that both 3M and Aearo jointly (i.e., the “companies” plural) “continued producing and

selling” the product for years thereafter. With this bankruptcy filing having been in the works

for (at least) months, the opacity on this point seems deliberate.

       13.     Full and fair discovery is also necessary with respect to the Injunction Motion’s

claims of shared insurance between 3M and Aearo. The Injunction Motion includes at least 50

references to “insurance,” “insurers,” “co-insureds,” and the like, and makes “shared insurance”

a centerpiece of its argument. See, e.g., Injunction Mot. at 37 (asserting that “3M’s ability to

make a claim for coverage under the shared policies alone justifies an injunction”). But then

there is a passing reference (in a subordinate clause) to the fact that “none of the insurers has yet


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acknowledged its coverage obligations ….” Id. at 22. No relief can or should be granted on

such a sparse “record.”

       14.     In addition to the Debtors’ failure to even allege – let alone prove – any

irreparable harm that can only be prevented by the issuance of emergency injunctive relief on

essentially no notice, the TRO request and these chapter 11 cases generally raise grave questions

of bankruptcy practice and policy that can and should only be decided on a full and appropriate

record, after full and appropriate discovery, briefing, and argument. These questions include the

extent to which an indisputably solvent non-debtor such as 3M can manipulate the bankruptcy

process to secure relief without subjecting itself to the strictures of the Bankruptcy Code;

whether 3M’s independent CAEv2-related liability can or should be addressed in these cases;

and how the existence of a longstanding and well-managed coordinated litigation process ought

to factor into the extraordinary exit that 3M seeks to make from the civil justice system.

       15.     These questions are far too important to be briefed overnight and argued at a first-

day hearing. Indeed, the Court should be especially leery of the Debtors’ and 3M’s attempts to

impose such an artificially truncated timeline by design. This bankruptcy has apparently been in

the works for quite some time, and the lawyers who planned it took all the time they needed to

develop and hone their first day papers. They obviously did not need to include a TRO request.

Instead, they could have sought preliminary injunctive relief on an expedited but nonetheless

sufficient schedule that would afford the Court and opposing counsel sufficient time to evaluate

and responsibly address the important issues presented. Their failure to take a reasonable and

appropriate path bespeaks either gamesmanship or a lack of confidence in the merits of their

position.




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                                        CONCLUSION

       16.    There is no basis for entering a temporary restraining order. No immediate

irreparable harm has even been alleged, let alone proved. The sole “harm” is the continuation of

orderly discovery in a long-running, well-managed coordinated litigation overseen by another

federal judge. The relief sought in the Injunction Motion is immensely consequential to

hundreds of thousands of injured veterans and servicemembers, and far too important to resolve

without full and fair discovery, briefing, and argument. The Court should deny the TRO and set

the Injunction Motion for hearing on an appropriate schedule.

Dated: July 26, 2022                 KTBS LAW LLP


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